        Case 1:17-cr-00040-LJV-JJM Document 144 Filed 01/31/20 Page 1 of 2




Date:     /
              A'^/
Clerk Of The Dfetrict
             Di^st
                     7.
                      Court
2 Niagara Square
                                                             f
Buffalo, New York 14202.                                          A' H 1 ^[i2i]

RE: Russell v     United States Of America                                   oA-
    Case Nos. 19-CV-1127-V
                  18-CR-105-V
                  17-CR-40-V




                EMERGENCY NOTICE TO THE DISTRICT COURT



To The DISTRICT COURT
HONORABLE: Lawrence J. Vilardo.



     On October 11, 2019. The Government, moved this court for an

"extention of time" since that period has passed, the Government is

now in "Default" Petitioner, does not want to file a ,"Petition For

Writ Of Mandamus." To the Second Circuit Court Of Appeals but if

necessary Petitioner, must act in accordance with the law as it is

written. This notice is presented in good faith, hoping that the

United States will now take the appropriate action in this case,

and provide a competent reply to the currently pending §2255-motion.


Respectfully Submitted


L^rence Russell
i^^2741 3-055/LC-90U
Federal Correctional Inst.
Butner-Medium II
Post Office Box 1500
Butner, NC 27509.
                 Case 1:17-cr-00040-LJV-JJM
 Mr. Lawrence RusselljS'27413-055            Document
                                      , jf Cl/  }/Z-~7144    Filed 01/31/20
                                                                      ,,    Page 2 of 2
                                     ^           n-                             I®:2;?5
Name:                    Number:
Federal Correctional Institution 2        / 7 - dCL -                                     )
P.O.Box 1500
Butner, NC 27509
                                                   Clerk Of The U.S. District
                       JAN 2 I !'x'}'\>            2 Niagara Square
                                                   Buffalo, New York 14202.




                                          i 4202-335033      l(|iii'iiiP'HiFi|i|pidl''ll'''ili''ni!ill'iMlp''iilM'
